        Case 3:22-cv-03525-TLT          Document 27     Filed 12/02/22   Page 1 of 3




 1 David Elliot (SBN 270381)
   ELLIOT LAW OFFICE, PC
 2 2028 3rd Avenue
   San Diego, CA 92101
 3
   Telephone: (858) 228-7997
 4 Email: davidelliot@elliotlawoffice.com

 5 Counsel for Plaintiff

 6

 7

 8
                             UNITED STATES DISTRICT COURT
 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
10

11
      PEGGY TATUM, on behalf of herself          Case No. 3:22-cv-03525-TLT
12    and all others similarly situated,
13
                           Plaintiff,            NOTICE OF APPEARANCE
14
               v.
15
      TALKING RAIN BEVERAGE
16    COMPANY, INC.,
17
                           Defendant.
18

19

20

21

22

23

24

25

26

27

28

                                        NOTICE OF APPEARANCE
                                        Case No. 3:22-cv-03525-TLT
        Case 3:22-cv-03525-TLT           Document 27       Filed 12/02/22      Page 2 of 3




 1          TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF

 2 RECORD HEREIN:

 3          PLEASE TAKE NOTICE that David Elliot, an attorney with the Elliot Law Office, PC,

 4 hereby enters his appearance as counsel of record for Plaintiff Peggy Tatum in the above-captioned

 5 matter. It is respectfully requested that Mr. Elliot be added to the service list of this action and that

 6 copies of all pleadings and notices be forwarded to him at the following address:

 7          ELLIOT LAW OFFICE, PC
            David Elliot (270381)
 8          2028 3rd Avenue
            San Diego, CA 92101
 9
            Telephone: (858) 228-7997
10          Email: davidelliot@elliotlawoffice.com

11          Mr. Elliot is licensed to practice law in the State of California and is a member in good
12 standing with the California State Bar.

13                                                 Respectfully submitted,
14   DATED: November 22, 2022                      ELLIOT LAW OFFICE, PC
15
                                                   By:     s/David Elliot
16                                                 David Elliot (270381)
                                                   2028 3rd Avenue
17                                                 San Diego, CA 92101
                                                   Telephone: (858) 228-7997
18                                                 Email: davidelliot@elliotlawoffice.com
19
                                                    Counsel for Plaintiff
20

21

22

23

24

25

26

27

28
                                                    -1-
                                        NOTICE OF APPEARANCE
                                        Case No. 3:22-cv-03525-TLT
      Case 3:22-cv-03525-TLT          Document 27        Filed 12/02/22        Page 3 of 3




 1                       PROOF OF SERVICE BY ELECTRONIC POSTING

 2          I, the undersigned say:

 3          I am not a party to the above case and am over eighteen years old. On November 22, 2022,

 4 I served true and correct copies of the foregoing document, by posting the document electronically

 5 to the ECF website of the United States District Court for the Northern District of California, for

 6 receipt electronically by the parties listed on the Court’s Service List.

 7          I affirm under penalty of perjury under the laws of the United States of America that the

 8 foregoing is true and correct. Executed on November 22, 2022, at San Diego, California.

 9

10                                                        s/David Elliot
                                                          David Elliot
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
